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                         DEPARTMENT OF JUSTICE | OFFICE OF THE INSPECTOR GENERAL

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October 13, 2020


VIA ELECTRONIC MAIL


Dr. Fred L. Nance, Jr.
17239 Evans Avenue
South Holland, Illinois 60473-3436
frednance@clickservices.org


Re:      Your August 28, 2020 Complaint to the OIG


Dear Dr. Nance, Jr.:

I am writing in response to the August 28, 2020 whistleblower reprisal complaint that you submitted to the Department
of Justice Office of the Inspector General (OIG). The OIG has jurisdiction, under certain circumstances, to investigate
allegations of whistleblower reprisal under 41 U.S.C. § 4712 (Enhancement of Contractor Protection from Reprisal for
Disclosure of Certain Information). Section 4712(b)(1) states, in part:

         Unless the Inspector General determines that the complaint is frivolous, fails to allege a violation of the
         prohibition in subsection (a), or has previously been addressed in another Federal or State judicial or
         administrative proceeding initiated by the complainant, the Inspector General shall investigate the complaint….

We do not believe that you have alleged that you suffered a reprisal in violation of § 4712(a). First, your complaint fails
to allege that you made a protected disclosure—i.e., a communication that, among other things, reasonably evidenced
gross mismanagement of a federal contract or grant, a gross waste of federal funds, an abuse of authority relating to a
federal contract or grant, a substantial and specific danger to public health or safety, or a violation of law, rule, or
regulation related to a federal contract (including the competition for or negotiation of a contract) or grant. Second,
significant doubt surrounds whether your complaint alleges that you suffered a personnel action, as contemplated
under § 4712(a).

In light of our determination, we intend to decline to open a whistleblower reprisal investigation of your complaint. If
you wish to provide any additional information relevant to the OIG’s determination, please do so within 10 days of the
date of this letter. If you decline to provide any additional information, you may wish to review § 4712(c)(2), which
describes your right to pursue a claim of retaliation in federal district court.

Sincerely,




M. Sean O’Neill
Assistant Inspector General
Oversight and Review Division
